Case 1:22-cr-00208-CBA      Document 437 Filed 05/31/24    Page 1 of 18 PageID #:
                                      10673



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

              -v.-                                  22 Cr. 208 (CBA)

 ANTONY ABREU,

                     Defendant.




          MEMORANDUM OF LAW IN SUPPORT OF ANTONY ABREU’S
              MOTIONS PURSUANT TO RULE 29 AND RULE 33




                                                Susan G. Kellman
                                                Eylan Schulman


Submitted: May 31, 2024                         Counsel for Antony Abreu
Case 1:22-cr-00208-CBA                          Document 437 Filed 05/31/24                               Page 2 of 18 PageID #:
                                                          10674




                                                 TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................... ii
PRELIMINARY STATEMENT .................................................................................................... 1
SUMMARY OF ARGUMENT ...................................................................................................... 1
DISCUSSION ................................................................................................................................. 4
   I. There Was No Evidence of an Agreement with Antony Abreu to Commit the Charged
   Murder-for-Hire, an Element in Both Counts, Prior to Chris Gu’s Murder................................ 4
      A.        Legal Standard ................................................................................................................ 4
          i.       The Law of Conspiracy ............................................................................................... 6
          ii.      Substantive Murder-for-Hire Charge .......................................................................... 7
      B.        Evidence of Pre-murder Agreements to Kill Chris Gu ................................................... 9
          i.       The promise from Allen Yu to You You and Zhe Zhang was impermissibly vague . 9
          ii.      There was no evidence of a pre-murder agreement involving Antony Abreu .......... 11
   II. The Court Should Grant Mr. Abreu a New Trial ............................................................... 13
   III. Mr. Abreu Joins in Defendants Yu and Zhang’s Post-Trial Motions ............................... 15
CONCLUSION ............................................................................................................................. 15




                                                                        i
Case 1:22-cr-00208-CBA                          Document 437 Filed 05/31/24                                 Page 3 of 18 PageID #:
                                                          10675



                                               TABLE OF AUTHORITIES

Cases
Carpenters & Joiners v. United States, 330 U.S. 395 (1899)......................................................... 5
Jackson v. Virginia, 443 U.S. 307 (1979) ....................................................................................... 4
United States v. Amato, 15 F.3d 230 (2d Cir. 1994) ....................................................................... 6
United States v. Babilonia, 854 F.3d 163 (2d Cir. 2017)................................................................ 8
United States v. Blasini-Lluberas, 169 F.3d 57 (1st Cir. 1999) ...................................................... 5
United States v. Blondet, No. S13 16-CR-387 (JMF), 2022 WL 17370032 (S.D.N.Y. Dec. 2,
  2022)............................................................................................................................................ 5
United States v. Clemente, 2004 U.S. Dist. LEXIS 627 (S.D.N.Y. 2004).................................... 14
United States v. Coplan, 703 F.3d 46 (2d Cir. 2012)...................................................................... 6
United States v. D'Amato, 39 F.3d 1249 (2d Cir. 1994) ................................................................. 6
United States v. Davis, 103 F. Supp. 3d 396 (S.D.N.Y. 2015) ........................................... 9, 12, 13
United States v. Ferguson, 246 F.3d 129 (2d Cir. 2001) ................................................................ 14
United States v. Frampton, 382 F.3d 213 (2d Cir. 2004) ................................................... 9, 10, 13
United States v. Friedman, 300 F.3d 111 (2d Cir. 2002)................................................................ 6
United States v. Glenn, 312 F.3d 58 (2d Cir. 2002)........................................................................ 6
United States v. Hardwick, 523 F.3d 94 (2d Cir. 2008).................................................................. 8
United States v. Heras, 609 F.3d 101 (2d Cir.2010)....................................................................... 1
United States v. Jones, 30 F.3d 276 (2d Cir. 1994) ........................................................................ 7
United States v. Litwok, 678 F.3d 208 (2d Cir. 2012) .................................................................... 1
United States v. Lorenzo, 534 F.3d 153 (2d Cir. 2008) .................................................................. 5
United States v. Martinez-Sandoval, 2003 U.S. Dist. LEXIS 3045 (S.D.N.Y. Mar. 5, 2003) ....... 7
United States v. Nusraty, 867 F.2d 759 (2d Cir. 1989)................................................................... 7
United States v. Pauling, 924 F.3d 649 (2d Cir. 2019)................................................................. 12
United States v. Rodriguez, 392 F.3d 539 (2d Cir. 2004) ............................................................... 7
United States v. Rubin, 844 F.2d 979 (2d Cir. 1988) ...................................................................... 6
United States v. Samaria, 239 F.3d 228 (2d Cir. 2001) .............................................................. 6, 7
United States v. Taylor, 464 F.2d 240 (2d Cir. 1972) ..................................................................... 5
United States v. Vernace, 811 F.3d 609 (2d Cir. 2016) ................................................................ 12
United States v. Weiner, 152 F. App’x 38 (2d Cir. 2005)............................................................... 6
United States v. Wexler, 838 F.2d 88 (3d Cir. 1988) ...................................................................... 7
United States v. Wicklund, 114 F.3d 151 (10th Cir. 1997) ............................................................. 8
Statutes

18 U.S.C. § 1958 ................................................................................................................... 8, 9, 11
Fed. R. Crim. P. 29(a) ..................................................................................................................... 5
Fed. R. Crim. P. 33 ....................................................................................................................... 13


                                                                         ii
Case 1:22-cr-00208-CBA                 Document 437 Filed 05/31/24                    Page 4 of 18 PageID #:
                                                 10676




                                      PRELIMINARY STATEMENT

         Antony Abreu moves for a judgment of acquittal as to the two counts of conviction –

Count I murder-for-hire conspiracy and Count II murder-for-hire – because the trial record is

devoid of any evidence that Antony Abreu entered into an agreement that would benefit him

financially, before Chris Gu was murdered on February 12, 2019 – as required. At trial, the

government asked the jury to substitute rank speculation, or worse, conjecture, for actual evidence

– from which a conclusion might reasonably and legitimately have been drawn. Arguing, without

any evidentiary support, that because Zhe Zhang gave Antony Abreu what might have been a

valuable watch – in the year after Chris Gu was killed – this was sufficient for the jury to infer that

Mr. Abreu entered into a pre-murder agreement to commit the crime. The conclusion that the

government urged the jury to adopt has no factual basis in the record because the government

presented no evidence that Mr. Abreu contracted to commit the murder for pecuniary gain – prior

to the murder – which the statute requires for each of the counts of conviction.

                                       SUMMARY OF ARGUMENT1

         Because the trial record is completely devoid of any evidence to support the existence of a

pre-murder financial agreement involving Mr. Abreu, the government encouraged the jury to

speculate. Specifically, the government suggested that the jury could infer that Mr. Abreu would

not have committed the murder for free, notwithstanding the nonexistence of any evidence to

support such an inference. Tr. 2215.

         According to the government, Mr. Abreu was supposedly paid for the murder as follows:


1
  Except where otherwise noted, the following facts are derived from the trial transcript. Page citations to the trial
transcript are preceded by “Tr.” For any disputable fact, the resolution is made “in the light most favorable to the
prosecution.” United States v. Litwok, 678 F.3d 208, 213 (2d Cir. 2012) (internal quotation marks omitted) (quoting
United States v. Heras, 609 F.3d 101, 105 (2d Cir.2010)).


                                                          1
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24             Page 5 of 18 PageID #:
                                          10677



“You You [gave] the money to Zhang and Zhang gave it to Abreu.” Tr. 2215. The government

went on, arguing: “Zhang never got Amaco’s business and Allen Yu only paid [Zhang] five figures

in cash. So Zhang did the next best thing. He gave [Mr. Abreu] one of his ultra-luxury, highly-

exclusive Richard Milles making good on his promise to pay the Defendant for pulling the trigger.”

Tr. 2218-19. This argument was misleading and inaccurate for multiple reasons – and the

government knew it. First, the record is completely devoid of even a suggestion that Zhang made

a pre-murder “promise to pay” Abreu. Since there was not a scintilla of evidence on this point –

assuming arguendo that Mr. Abreu committed the murder, he could have done it as a favor for

Zhang or for no pecuniary benefit at all. We just don’t know – and the jury was forced to speculate

– because the government provided no evidence from which they could reasonably reach such a

conclusion.

       Second, while the evidence demonstrated that Allen Yu paid You You – who claims that

he did not commit the murder – upwards of $200,000 in 2018 and 2019, Zhang received a total of

$30,000 in checks. Worse for the government’s ultimate argument is the fact that the evidence

showed that the $30,000 had nothing to do with reimbursement for the murder; rather, it was

undisputed that it was reimbursement for an outstanding marijuana debt between You You and

Zhang. You You admitted the $30,000 in checks that Zhang received from Allen Yu had nothing

to do with payment for the murder – and had everything to do with paying Zhang back a $50,000

marijuana debt. Tr. 702. Specifically, You You made it clear that his biggest concern was that

Zhang was not going to give him any more marijuana until he brought his marijuana debt down.

Tr. 690. Conveniently for Mr. Abreu, You You’s testimony contradicts the argument advanced by

the government in its closing arguments.

       Indeed, there was no evidence Zhang was ever paid for his role in the murder – at most,



                                                2
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24             Page 6 of 18 PageID #:
                                          10678



there was the amorphous promise by Allen Yu to share business leads and help Zhang and You

You start their own construction business. This testimony – real, imagined or hypothesized – never

implicated Antony Abreu.

       The government suggested that Mr. Abreu asked the jury “to believe that Zhang told Abreu,

his employee, to murder a stranger out in the open, in full view of surveillance cameras, just

because. That makes no sense.” Tr. 2215. But the defense’s position is not that Mr. Abreu

committed the murder for free – we contend there is no evidence of a pre-murder promise – as the

law requires. The government argued the following: “Zhang promised Abreu $100,000. Abreu

wrote it himself: Dude owed me a hundred K so he gave me the watch as payment. Abreu agreed

to kill Chris Gu in exchange for money. This was a job and he didn’t do it for free.” Tr. 2216,

citing GX 1317. The government argument relied on an Instagram conversation which occurred

more than 2½ years after Gu was murdered, in which Mr. Abreu remarks that he got paid with a

watch for “work” owed and needed to fix it first and acknowledges the watch might be a

counterfeit, stating “I don’t know if the Richard might be fake LOL.” GX 1317. Critically, there

is no evidence connecting that payment to Gu’s murder. As the evidence showed, Zhang and Abreu

were regularly involved together in large scale marijuana distribution and the “Richard” which

was discussed years after Gu’s murder is far more plausibly a payment in connection with their

thriving marijuana business. For the jury to find that the watch was the result of a pre-murder

agreement to kill Chris Gu, the government asked the jury to rely on conjecture, which was

unsupported by any facts in the record. In the final analysis, there is no evidence to suggest what

the watch given to Mr. Abreu was meant to represent.

       No reasonable juror could conclude that the fact that Zhang gave Mr. Abreu a watch during

the year after the murder demonstrates the watch was payment for the murder – particularly when



                                                3
Case 1:22-cr-00208-CBA           Document 437 Filed 05/31/24               Page 7 of 18 PageID #:
                                           10679



the facts in the record made clear that Zhang and Mr. Abreu were involved in a high-end and

ongoing marijuana distribution business – and no evidence supported the government’s

hypothesis.

       In lieu of any actual evidence, the government asked the jury to speculate: “Think about it,

members of the jury. It's not plausible to think that the defendant went ahead and bought the get-

away car, got the fake license plate, got the gloves, got the gun if he did not think that he was going

to get compensated for it. He would not have thought all those things and actually pulled the trigger

if he thought he wasn't going to get paid for it.” Tr. 2118. There is no time like the present for this

Court to remind the government that conjecture is not a substitute for evidence.

       It is undisputed that the trial testimony does not demonstrate that Mr. Abreu had any

involvement in the planning or agreement to commit the murder. You You was asked “Prior to

February 11, 2019, you never spoke to Antony Abreu about this murder, correct?” “Correct,” You

You responded. Tr. 612. You You acknowledged never speaking to Mr. Abreu alone – they never

even had a substantive conversation. Tr. 637. You You, who was recompensed richly for his role

in the murder, never agreed to pay Mr. Abreu anything for the murder – not even $1. Tr. 666-67.

Unlike You You’s co-conspirator, David Yu, the evidence was unequivocal that Mr. Abreu “never

came to see” You You – or anyone else – requesting compensation for his alleged involvement in

the murder. Tr. 707-08.


                                           DISCUSSION

  I.   There Was No Evidence of an Agreement with Antony Abreu to Commit the Charged
       Murder-for-Hire, an Element in Both Counts, Prior to Chris Gu’s Murder

    A. Legal Standard

       “[I]n our system . . . the application of the beyond-a-reasonable-doubt standard to the

evidence is not irretrievably committed to jury discretion.” Jackson v. Virginia, 443 U.S. 307, 318

                                                  4
Case 1:22-cr-00208-CBA           Document 437 Filed 05/31/24             Page 8 of 18 PageID #:
                                           10680



n.10 (1979). The Constitution prohibits a jury from convicting a defendant if no reasonable jury

could have found each element proven beyond a reasonable doubt. Id., at 319. Although the jury

is “permitted to enter an . . . unreasonable verdict of ‘not guilty,’“ it does not have the “power to

enter an unreasonable verdict of guilty.” Id. (citing Carpenters & Joiners v. United States, 330

U.S. 395, 408 (1899)). Thus, “Rule 29(a) of the Federal Rules of Criminal Procedure requires the

court to ‘enter a judgment of acquittal of any offense for which the evidence is insufficient to

sustain a conviction.’” United States v. Blondet, No. S13 16-CR-387 (JMF), 2022 WL 17370032,

at *5 (S.D.N.Y. Dec. 2, 2022) (quoting Fed. R. Crim. P. 29(a)).

       Although it is generally left to the jury to determine the credibility of witnesses, weigh the

evidence and draw justifiable inferences from proven facts, United States v. Taylor, 464 F.2d 240,

243 (2d Cir. 1972), “juries do not have carte blanche,” United States v. Blasini-Lluberas, 169 F.3d

57, 62 (1st Cir. 1999), and “[t]he jury may not be permitted to conjecture merely, or to conclude

upon pure speculation or from passion, prejudice or sympathy.” Taylor, 464 F.2d at 243.

       On a Rule 29 motion, the Court is required to “take a hard look at the record and to reject

those evidentiary interpretations and illations that are unreasonable, insupportable, or overly

speculative.” Blasini-Lluberas, 169 F.3d at 62 (internal citations and quotation marks omitted);

see also United States v. Lorenzo, 534 F.3d 153, 159 (2d Cir. 2008) (internal citation, quotation

marks and alterations omitted) (“[S]pecious inferences are not indulged, because it would not

satisfy the Constitution to have a jury determine that the defendant is probably guilty”).

       “If the evidence is such that reasonable jur[ors] must necessarily have . . . a [reasonable]

doubt, the judge must require acquittal, because no other result is permissible within the fixed

bounds of jury consideration.” Taylor, 464 F.2d at 243. Moreover, if the evidence “gives equal or

nearly equal circumstantial support to a theory of guilt and a theory of innocence, then a reasonable



                                                 5
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24             Page 9 of 18 PageID #:
                                          10681



jury must necessarily entertain a reasonable doubt.” United States v. Coplan, 703 F.3d 46, 69 (2d

Cir. 2012). In other words, where the evidence is “in equipoise,” a judgment of acquittal is

required. Id.; see also United States v. Glenn, 312 F.3d 58, 70 (2d Cir. 2002); United States v.

D’Amato, 39 F.3d 1249 (2d Cir. 1994).

i. The Law of Conspiracy

       As the Second Circuit has instructed, “the fundamental element of a conspiracy

is unlawful agreement.” United States v. Rubin, 844 F.2d 979, 983 (2d Cir. 1988). To establish the

existence of a conspiracy, the government is required to prove the existence of a “meeting of the

minds” among the purported conspirators, as to at least the general nature of the plan, if not every

detail of its execution. United States v. Weiner, 152 F. App’x 38, 40 (2d Cir. 2005). The

government need not present evidence of a formal or express agreement, but it must, at a minimum,

prove that the conspirators shared “a tacit understanding to engage in the offense.” See United

States v. Amato, 15 F.3d 230, 235 (2d Cir. 1994).

       Even when a defendant has associated himself with persons proven to be conspirators, and

even if he has demonstrated through conduct his suspicion that criminal activity of some kind is

afoot, the government must prove that the defendant knew the specific unlawful aim of the

conspiracy, and that he acted intentionally to achieve that unlawful objective. United States v.

Samaria, 239 F.3d 228, 233-34 (2d Cir. 2001); United States v. Friedman, 300 F.3d 111, 124 (2d

Cir. 2002) (“[p]roof that the defendant knew that some crime would be committed is not enough”)

(emphasis in original).

       As the Second Circuit held in Samaria, permitting a guilty verdict without proof of a

defendant’s knowledge of the conspiracy’s illegal objective, and his specific intent to join the

conspiracy in furtherance of that objective, “would be to permit suspicious circumstances or


                                                 6
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24              Page 10 of 18 PageID #:
                                          10682



association with criminals to suffice as proof of conspiracy.” Samaria, at 240. See also United

States v. Wexler, 838 F.2d 88, 91-92 (3d Cir. 1988). The Samaria Court reaffirmed the principle

that “mere presence at the scene of a criminal act or association with conspirators does not

constitute intentional participation in the conspiracy, even if the defendant has knowledge of the

conspiracy.” Samaria, at 235, citing United States v. Jones, 30 F.3d 276, 282 (2d Cir. 1994)

(emphasis added) (other citations omitted).

       There must “be some evidence from which it can reasonably be inferred that the person

charged with conspiracy knew of the existence of the scheme alleged in the indictment and

knowingly joined and participated in it.” United States v. Nusraty, 867 F.2d 759, 763 (2d Cir.

1989) (citations and internal quotation marks omitted); United States v. Rodriguez, 392 F.3d 539,

545 (2d Cir. 2004); United States v. Samaria, 239 F.3d at 233-34. Despite the fact that membership

in a conspiracy can be proven through circumstantial evidence, the evidence is nevertheless

insufficient to sustain a conviction when “the circumstantial evidence regarding Defendant’s

specific intent to join the conspiracy equally supports competing theories of guilt and innocence.”

United States v. Martinez-Sandoval, 2003 U.S. Dist. LEXIS 3045, at *21 (S.D.N.Y. Mar. 5, 2003).

ii. Substantive Murder-for-Hire Charge

       In order to prove the substantive murder-for-hire charge, the government had to prove

beyond a reasonable doubt each of the following four elements of the crime:

               First, that the defendant either used or caused to be use a facility of
               interstate commerce.

               Second, that this use of the facility of interstate commerce was done
               with the intent that a murder be committed in violation of the laws
               of the State of New York.

               Third, that the defendant did so as consideration for the receipt of or
               as consideration for a promise or agreement to pay anything of
               pecuniary value.

                                                 7
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24             Page 11 of 18 PageID #:
                                          10683




               And fourth, that the death of Xin Gu resulted from the murder-for-
               hire.

Tr. 2265.

       With respect to the third element – the element most relevant to this motion, the

government needed to prove that Mr. Abreu “intended that the murder be committed as

consideration for the receipt of anything of pecuniary value. This element requires that prior to the

murder, there was a mutual agreement, understanding, or promise that something of value would

be exchanged for committing the murder. "Anything of value" means money, negotiable

instruments, or anything else the primary significance of which is economic advantage.” Tr. 2268

(emphasis added). The government needed to prove that Mr. Abreu “participated with the

understanding based on a mutual agreement that he would receive in exchange something of

pecuniary value. If, however, you find that there was no mutual agreement prior to the murder that

something of value would be exchanged, then payments of money after the murder, standing alone,

would not satisfy this element.” Id.

       “The consideration requirement in 18 U.S.C. § 1958 is interpreted in ‘the traditional sense

of bargained for exchange.’” United States. v. Hardwick, 523 F.3d 94, 99-100 (2d Cir. 2008) (citing

United States v. Wicklund, 114 F.3d 151, 154 (10th Cir. 1997)). As with any bargained for

exchange, there must be “a mutual understanding that something of value will be exchanged for

committing a murder.” Id. at 154. The Second Circuit has repeatedly held that there must be a

mutual understanding of the form the consideration will take “when the agreement was made.”

United States v. Babilonia, 854 F.3d 163, 176 (2d Cir. 2017) (emphasis added). As Your Honor

recently wrote in the Court’s Order on defendants’ Allen Yu and Zhang’s motion for an acquittal,




                                                 8
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24                Page 12 of 18 PageID #:
                                          10684



“An unspecified future “favor” is insufficient to support a conviction for murder-for-hire.” Dkt.

424, Order at 8, citing United States v. Frampton, 382 F.3d 213, 218-19 (2d Cir. 2004).

        The government must prove that the intent of the solicitor of the murder for hire was

“conveyed to and understood” by the hitman “at the time the defendant solicit[s] [the hitman] to

commit the murder.” United States v. Davis, 103 F. Supp. 3d 396, 404 (S.D.N.Y. 2015).

        In Davis, Judge Katherine Forrest granted defendant’s Rule 29 motion for acquittal,

finding vague promises related to the commission of the murder insufficient to satisfy the

remuneration element of 18 U.S.C. §1958 – though the government’s evidence showed a $1,000

payment after the murder’s commission. The Court held:

               The current record does not support an advance, before the murder,
               bargained for exchange or understanding of a quid-pro-quo
               involving something of pecuniary value between Davis and Wilson.
               It supports only that Davis would make the murder worth Wilson’s
               while—in some unspecified way. While Davis’s intent controls, the
               intent of the other party to the bargain cannot be irrelevant. If it were,
               the “as consideration for the receipt of, or as consideration for a
               promise or agreement to pay” language in the statute would become
               irrelevant. A murder-for-hire necessarily involves mutuality … In
               short there must be sufficient evidence that Davis hired Wilson to
               do the job—not just convinced or coerced him to do it based on a
               vague hope … Hiring in the §1958 sense involves agreement to
               murder for a pecuniary payment of promise of payment. Here there
               was no such hiring, though there was in fact a post murder payment.
               As the Government concedes, the promise or agreement that
               anything of pecuniary value would be provided in consideration for
               a murder is one which must occur prior to the murder itself.

Id., at 404-405. See also Frampton, 382 F. 3d at 219.

     B. Evidence of Pre-murder Agreements to Kill Chris Gu

i.   The promise from Allen Yu to You You and Zhe Zhang was impermissibly vague

        You You testified that Allen Yu represented that he would provide some sort of “favors”

in the form of business contacts and connections – to You You and Zhe Zhang. Allen Yu made no



                                                   9
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24             Page 13 of 18 PageID #:
                                          10685



such representations as to Antony Abreu; indeed, there is no evidence in the record that Allen Yu

had any idea Antony Abreu even existed. With no further detail, You You testified that Allen Yu

was going to pass all his real estate connections and his supplier connections and some of the crew

workers to let us run our own construction company.” Tr. 700. The extent of the promise(s) were

non-specific “connections” – “his real estate connections, clients, and construction worker crews

and some of his supply connections.” Tr. 701. You You testified that Allen Yu was going to give

him “a contact for subcontractors, essentially, in exchange for killing his protégé;” however, You

You could only claim Allen Yu “was going to link us up with his real estate connections, those

big-time landlords with jobs and stuff as clients, and then he would hook us with some construction

crews that he has and let us work for us, and he will give us the link with all the supply company

in Flushing, all the lumber yards, all the supply connections. That's what he said.” Id. When asked

whether the agreement was for Allen Yu “to tell you the name of where he buys lumber in

Flushing, that's what you're saying at the end?” You You responded “No. He's basically, what he's

trying to say is he will tell them, okay, you to give us the connection, give us the account so we

could buy the supplies and stuff on credit, like that.” Id. Critically, there is no evidence or even

any suggestion that these conversations involved Antony Abreu, in any manner, shape or form.

       The Second Circuit in Frampton explained that the sort of vague promise alleged in this

case was not enough. The Court held that “The federal murder-for-hire statute does not speak in

such colloquial terms. Moreover, the mere fact that the consideration offered by one (the solicitor)

in exchange for another's (the murderer's) agreement to commit a murder could inure to the

economic benefit of the latter is insufficient.” United States v. Frampton, 382 F.3d at 219. “[T]here

must be some evidence to establish that at the time the agreement was formed, the consideration

was something the ‘primary significance’ of which lay in its ‘economic advantage.’” Id. (citing



                                                 10
Case 1:22-cr-00208-CBA         Document 437 Filed 05/31/24            Page 14 of 18 PageID #:
                                         10686



the statute).

        The best You You could offer the jury was that Allen Yu would provide vague favors in

exchange for a commitment to carry out the murder – but that does not meet the specific

requirements to support a conviction under 18 U.S.C. §1958. Moreover, none of these “favors” –

as ambiguous as they were – included any sort of remuneration for Antony Abreu. Accordingly,

You You’s vague representations about the contacts he would receive in exchange for commission

of the murder do not satisfy the remuneration requirement of §1958.

ii. There was no evidence of a pre-murder agreement involving Antony Abreu

        The government offered no evidence at trial that connected Antony Abreu to the pre-

murder discussions, such as they were, between Alan Yu, You You and Zhe Zhang. The evidence

at trial simply demonstrated that Mr. Abreu received a watch from Zhang in the year after the

murder. This does not establish the required element of a pre-murder promise required to establish

the murder-for-hire because the record is devoid of any evidence that (1) there was ever a

discussion, prior to Gu’s murder – or thereafter – between Antony Abreu and anyone that indicated

Abreu would be compensated for committing the murder; and (2) the watch that Mr. Abreu

bragged about receiving was in any way connected to the murder of Chris Gu. Indeed, to argue

otherwise does not pass the straight-face test. The jury is always reminded to bring their common

sense into their deliberations – so too, respectfully, for Your Honor. When viewing the evidence

in the light most favorable to the government, as the Court must, the question remains: Why would

Zhang give Mr. Abreu an expensive watch in the year after the murder of Chris Gu – when the

evidence educed at trial was unequivocal that Zhang received nothing but a vague and empty

promise about contacts in the construction business – a field in which he and Abreu had no

involvement whatsoever?


                                               11
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24             Page 15 of 18 PageID #:
                                          10687



       As counsel for Allen Yu correctly argued, “[w]ithout a promise of an identified agreement

for something of pecuniary value in return for the murder, post-murder payments are irrelevant.

They cannot be used to lend credulity to an otherwise legally deficient showing of a pre-murder

promise.” Dkt. 310, Post-trial motion of co-defendant Allen Yu at 17.

       Ironically, the hitman in Davis surmised he would receive money and he was, in fact, paid.

There, the evidence of the promised remuneration was vague, lacked the necessary mutuality and

the Court found it to be insufficient to satisfy the “pre-murder” payment statutory requirement, as

a matter of law. The facts here are demonstrably worse for the government; because unlike Davis,

there is zero evidence that Mr. Abreu entered into a pre-murder agreement to kill Chris Gu and

there is also no evidence that the watch Mr. Abreu bragged about 2½ years later – even if it was

given to him by Zhang – was promised to him before the murder. It is uncontested that the pair

were in the marijuana business together and in the absence of clear pre-murder agreement for Mr.

Abreu to have committed the murder, a judgment of acquittal is required.

        “Where the Government asks the jury to find an element of the crime through inference,

the jury may not be permitted to conjecture or to conclude upon pure speculation or from passion,

prejudice or sympathy.” United States v. Vernace, 811 F.3d 609, 615 (2d Cir. 2016). Instead, those

inferences must be “sufficiently supported to permit a rational juror to find that the element, like

all elements, is established beyond a reasonable doubt.” United States v. Pauling, 924 F.3d 649,

657 (2d Cir. 2019). Nothing but impermissible conjecture and speculation support the notion that

Mr. Abreu entered into an agreement to commit the murder in advance.

       The government focused on Mr. Abreu’s statement on Instagram that the watch was

payment for “work” – but, as You You testified, he understood that “work” was a reference to

marijuana. Tr. 706-07. The government’s theory presupposes, again, with no evidentiary support,



                                                12
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24               Page 16 of 18 PageID #:
                                          10688



that the watch was payment for the murder – though it is far more plausible that the watch was

payment related to the marijuana business, in which Zhang and Abreu were involved together over

many years. Even assuming the watch did serve as payment for the murder, after-the-fact, that

provides no support for the government’s ultimate position because it does not cure the absence of

a pre-murder promise to commit the murder. Indeed, the government argument has no evidentiary

basis in the record from which a legitimate inference could be drawn; rather, it is a theory – or a

guess – for which there is no support in the trial record. In both Davis and Frampton, the Court

has been unequivocal on the fundamental requirements necessary to support a conviction on either

of the two counts leveled against Mr. Abreu. None of those requirements are met here.

 II.      The Court Should Grant Mr. Abreu a New Trial

               Pursuant to Fed. R. Crim. P. 33, Mr. Abreu moves for a new trial. Rule 33 provides

that “the court may vacate any judgment and grant a new trial if the interest of justice so requires.”

See Fed. R. Crim. P. 33. This rule:


               by its terms gives the trial court broad discretion to set aside a jury
               verdict and order a new trial to avert a perceived miscarriage of
               justice. The district court must strike a balance between weighing
               the evidence and credibility of witnesses and not wholly usurping
               the role of the jury. Because the courts generally must defer to the
               jury’s resolution of conflicting evidence and assessment of witness
               credibility, it is only where exceptional circumstances can be
               demonstrated that the trial judge may intrude upon the jury function
               of credibility assessment. An example of exceptional circumstances
               is where testimony is patently incredible or defies physical realities,
               although the district court’s rejection of trial testimony by itself does
               not automatically permit Rule 33 relief.

               The ultimate test on a Rule 33 motion is whether letting a guilty
               verdict stand would be a manifest injustice. The trial court must be
               satisfied that competent, satisfactory and sufficient evidence in the
               record supports the jury verdict. The district court must examine the
               entire case, take into account all facts and circumstances, and make
               an objective evaluation. There must be a real concern that an
               innocent person may have been convicted. Generally, the trial court

                                                  13
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24             Page 17 of 18 PageID #:
                                          10689



               has broader discretion to grant a new trial under Rule 33 than to
               grant a motion for acquittal under Rule 29, but it nonetheless must
               exercise the Rule 33 authority sparingly and in the most
               extraordinary                                        circumstances.

       See United States v. Ferguson, 246 F.3d 129, 133-34 (2d Cir. 2001) (internal quotation marks

and citations omitted).

       It is respectfully submitted that a new trial is warranted to prevent the manifest injustice

which occurred as a result of the government’s inaccurate, misleading representations about Mr.

Abreu supposedly being paid for the murder through “You You [giving] the money to Zhang and

Zhang gave it to Abreu” and “Allen Yu only [paying Zhang] five figures in cash.” Tr. 2215, 2218.

Indeed, there was no evidence that Zhang was paid anything for the murder; You You admitted

the money Zhang received from Allen Yu was reimbursement for the outstanding marijuana debt

which You You owed Zhang and the payment had nothing to do with reimbursement for the

murder. Tr. 702.

        The government’s argument can be characterized as inaccurate, imaginative, creative

and/or misleading – but most critically, unsupported by any evidence. The end result is clear – that

such a presentation had a prejudicial effect on the jury in Mr. Abreu’s case. Accordingly, Mr.

Abreu is entitled to a new trial. See, e.g., United States v. Clemente, 2004 U.S. Dist. LEXIS 627, at

*21-22 (S.D.N.Y. 2004) (“Where a court concludes that despite the abstract sufficiency of the

evidence to sustain the verdict, the evidence preponderates sufficiently heavily against the verdict

that a serious miscarriage of justice may have occurred, it may set aside the verdict, grant a new

trial, and submit the issues for determination by another jury. Here, we conclude that permitting

that verdict to stand under the facts of this case would result in a manifest injustice to the

Defendant.”) (internal citations omitted).




                                                 14
Case 1:22-cr-00208-CBA          Document 437 Filed 05/31/24              Page 18 of 18 PageID #:
                                          10690



III.     Mr. Abreu Joins in Defendants Yu and Zhang’s Post-Trial Motions

         Mr. Abreu joins the motions of his codefendants in their post-trial motions to the extent

they benefit him – specifically with respect to the government’s constructive amendment and

prejudicial variance.


                                         CONCLUSION

         For the foregoing reasons, Antony Abreu’s motion for a judgment of acquittal under Rule

29 should be granted, or, in the alternative, a new trial should be ordered.

Dated:          Brooklyn, New York
                May 31, 2024

                                              Respectfully submitted,

                                                /s/ Susan G. Kellman

                                              Susan G. Kellman

                                              Eylan Schulman




TO:      Breon S. Peace, Esq.
         United States Attorney
         Eastern District of New York

Attn: Devon Lash, Gabriel Park, Eric Silverberg
      Assistant United States Attorneys




                                                 15
